     Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION



RHONDA J. MARTIN, et al.,



      Plaintiffs,


v.



BRIAN KEMP, et al.,                          CIVIL ACTION NO.
                                             1:18-CV-4776-LMM


      Defendants.




GEORGIA MUSLIM VOTER
PROJECT, et al.,



      Plaintiffs,

v.



BRIAN KEMP, et al.,                          CIVIL ACTION NO.
                                             1:18-CV-4789-LMM



      Defendants.
        Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 2 of 12




                                        ORDER


        This case comes before the Court on Defendant Brian Kemp's Emergency

Motion for Stay Pending Appeal. GMVP Dkt. No. [33]; Martin Dkt. No. [27].

        On October 25, 2018, this Court entered a temporary restraining order,

directing the Secretary of State Brian Kemp to issue instructions to all county

boards of registrars, boards of elections, election superintendents, and absentee

clerks so that procedural due process could be afforded to absentee voters. GMVP

Dkt. No. [32]. Secretary Kemp now moves this Court pursuant to Federal Rule of

Civil Procedure 62(c) to stay this injunction pending appeal. For the reasons

stated below, this motion is DENIED.

         I.    LEGAL STANDARD


        Federal Rule of Civil Procedure 62(c) governs the granting of a stay of an

injunction pending appeal and provides in relevant part:

        While an appeal is pending from an interlocutory order or final
        judgment that grants, dissolves, or denies an injunction, the court
        may suspend, modify, restore, or grant an injunction on terms for
        bond or other terms that secure the opposing party's rights.

"A   stay is not a matter of right, even if irreparable injury might otherwise result."

Nken v. Holder, 556 U.S. 418, 434 (2009) (citing Virginian Railway Co. v. United

States, 272 U.S. 658, 672 (1926)). "It is instead 'an exercise of judicial discretion,'

and '[t]he propriety of its issu[uance] is dependent upon the circumstances of the

particular case."' Id. (internal citations omitted). The Court's discretion is guided




                                            2
      Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 3 of 12



by sound legal principles that have been distilled into consideration of the

following four factors:

      (1) whether the stay applicant has made a strong showing that he is
      likely to succeed on the merits; (2) whether the applicant will be
      irreparably injured absent a stay; (3) whether issuance of the stay will
      substantially injure the other parties interested in the proceeding; and
      (4) where the public interest lies.

Hilton v. Braunskill, 481 U.S. 770, 776 (1987).

      The movant bears a "heavy burden" and "must establish each of these four

elements in order to prevail." Larios v. Cox, 305F. Supp. 2d 1335, 1336 (N.D. Ga.

2004) (citing Siegel v. Lepore, 234F.3d n63, n76 (nth Cir. 2000) (en bane));

see also Nken, 556 U.S. at 433-34 (2009) ("The party requesting a stay bears the

burden of showing that the circumstances justify an exercise of that discretion.").

      In addition, "[a]lthough the first factor (i.e., a strong showing of likelihood

of success on the merits) is generally the most important, the movant need not

always show that [it] probably will succeed on the merits of [the] appeal."

Gonzalez ex rel. Gonzalez v. Reno, No. oo-n424, 2000 WL 381901, at *1 (nth

Cir. Apr. 19, 2000) (citing Garcia-Mir v. Meese, 781F.2d 1450, 1453 (nth Cir.

1986)). When the balance of the equities weighs in favor of granting the stay, the

movant need only show a substantial case on the merits. Larios, 305F. Supp. 2d

at 1337. On the other hand, "[t]he more the balance of equities (represented by

the other three factors) tilts in [the opposing party's] favor, the greater the

movant's burden to shown a likelihood of success on the merits." Id.




                                          3
      Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 4 of 12




      In addition, the latter two factors (i.e., harm to the opposing party and

weighing the public interest) merge when the Government is the opposing party,


such as in the case sub judice. Nken, 556 U.S. at 435.

       II.        DISCUSSION

             a.   Likelihood of Success on the Merits

      For the reasons stated in this Court's Order in this case, GMVP Dkt. No.

[28], the Court finds that Secretary Kemp has not made a strong showing that he

is likely to succeed on the merits. Specifically, the Court notes that a facial

challenge is proper because the statutes at issue violate due process in all their


applications. It is axiomatic that "[t]he fundamental requisite of due process at


law is the opportunity to be heard." Goldberg v. Kelly, 397 U.S. 254, 267 (1970)

(internal citation omitted) (emphasis added). The statutes at issue do not provide


any opportunity to be heard on a ballot application or ballot rejection. See


0.C.G.A. §§ 21-2-381, -386. Rather, as Secretary Kemp acknowledges, the

statutes only provide for "prompt notice" and an ability "to cure the deficiency by


submitting another application or ballot." GMVP Dkt. No. [33] at 10. But notice

and an opportunity to cure by submitting a new application or ballot is not

equivalent to the opportunity to be heard on the initial issue of rejection. Thus,

the statutes plainly violate due process in all their applications.


      With regard to Secretary Kemp's application of the Mathews factors, the

Court disagrees with his assertion that the private interest at issue is light

because absentee voting is simply "a privilege and a convenience." GMVP Dkt.



                                           4
      Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 5 of 12



No. [33] at 9. As the Court previously explained, state-created statutory

entitlements can trigger due process. See GMVP Dkt. No. [28] at 22 (citing

Goldberg, 397 U.S. at 262 (1970)). Here, the State created a statutory scheme

entitling qualified persons to cast absentee ballots, thereby conferring a statutory

entitlement deserving of due process protections. As the Supreme Court

explained in Paul v. Davis,

      It is apparent from our decisions that there exists a variety of interests
      which are difficult of definition but are nevertheless comprehended
      within the meaning of either "liberty" or "property" as meant in the
      Due Process Clause. Those interests attain this constitutional status
      by virtue of the fact that they have been initially recognized and
      protected by state law, and we have repeatedly ruled that the
      procedural guarantees of the Fourteenth Amendment apply whenever
      the State seeks to remove or significantly alter that protected status.

424 U.S. 693, 710-11 (1976). Accordingly, having conferred the entitlement, the

State cannot withdraw the right to cast an absentee ballot without first adhering

to the Fourteenth Amendment's guarantee of due process of law.

      Turning to the remaining Mathews factors, Secretary Kemp has not made a

"strong showing" that he is likely to succeed on the merits. The Court remains

confident that the risk of rejecting qualified absentee voters is high, the

additional procedures have great probative value, and the procedures required by

the injunction are not so burdensome as to outweigh the state-conferred right to

vote through the absentee process. See Dkt. No. [28] at 26 (quoting Saucedo v.

Gardner, No. 17-cv-183-LM, 2018 WL 3862704, at *13 (D.N.H. Aug. 14, 2018)




                                          5
      Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 6 of 12



("[A]dditional procedures further the State's interest in preventing voter fraud

while ensuring that qualified voters are not wrongly disenfranchised.")).

      Nor is the Court swayed by any of Secretary Kemp's objections to the

additional procedural safeguards created by the injunction. Secretary Kemp first

argues that requiring the state to conduct hearings (and an appeal process) to

verify a voter's identity is "completely unnecessary since that simple verification

of identity can be accomplished by the voter simply showing up at the county

election office" or by requesting a new absentee application or ballot. GMVP Dkt.

No. [33] at 11. This objection misses the mark. There is simply no guarantee that

a voter whose ballot application or ballot has been rejected due to a signature

mismatch will be able to provide a matching signature on a new application­

particularly since signatures vary for a variety of benign reasons. See, e.g.,

Saucedo, 2018 WL 3862704, at *7 ("Unintentional factors [resulting in signature

variation] include age, physical and mental condition, disability, stress,

accidental occurrences, inherent variances in neuromuscular coordination and

stance."). Thus, a hearing is absolutely necessary for the subset of absentee voters

who vote by mail because they physically cannot show up in person to verify their

identity or vote in person.

      Next, Secretary Kemp argues that the provision in the injunction

permitting a voter to "send or rely upon a duly authorized attorney or attorney in

fact to present proper identification" introduces the risk of fraud, particularly

because it lacks "any kind of oath or affidavit requirement." See GMVP Dkt. No.


                                          6
       Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 7 of 12




[33] at 11-12. The Court is highly doubtful that injecting an attorney or an

attorney in-fact-persons bound by legal and ethical obligations-into the voter

verification process would increase the risk of fraud. Secretary Kemp also failed

to suggest any such affidavit or oath procedure when the Court provided

Secretary Kemp with the opportunity to do so       before issuing the injunction. See

GMVP Dkt. Nos.     [28] at 29; [31] at 2. Indeed, Secretary Kemp's current request

for a formal oath or affidavit is at odds with his earlier request for a "more

informal and manageable process, of allowing voters to simply provide proof of

identification...by faxing or emailing a copy of one's photo." GMVP Dkt. No.

[31] at 2. As such, the Court is simply not persuaded that the injunction's

attorney provision is more apt to induce voter fraud than the State's suggested

procedure for confirming a voter's identity via fax or email.

       Further, Secretary Kemp fails to recognize that the Court is not ordering

the State to automatically verify a voter based on identification proffered by an

attorney or attorney in-fact. The injunction leaves county elections officials free

to conduct hearings as they see fit-so long as there remains a constitutionally

adequate opportunity for a voter to be heard. While the injunction guards against

erroneous rejections based on a signature mismatch, county elections officials

still retain full discretion in verifying a voter's identity.

       Secretary Kemp's argument that the injunction poses substantial "fiscal

and administrative burdens" likewise lacks merit. See GMVP Dkt. No.        [33] at 12.

To begin, Secretary Kemp contends that ensuring statewide compliance with the



                                             7
      Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 8 of 12




injunction's requirements will require "significant changes to how at least some

counties track absentee ballot rejections; changes to the systems for tracking

absentee ballots voters; and more." Id. But this concern is directly belied by the

declaration of the Chair of the Chatham County Board of Registrars, Colin

McRae. GMVP Dkt. No. [37-1] � 2. For example, Mr. McRae explains that

"slightly changing the way we categorize rejectees in the eNet system is easily

doable." Id. at� 9. Given that one of the most populous counties in Georgia has

already stated that the injunction "does not really add any burdens to what we are

already doing," the Court is not persuaded that the injunction imposes any

substantial fiscal or administrative burdens. See id.�� 3, 10.

      Additionally, Secretary Kemp avers that this appeal requirement is "brand

new" and thus requires the State to create a system for tracking the number of

unresolved absentee ballot appeals from scratch. GMVP Dkt. No. [33] at 13. In

Secretary Kemp's view, then, the injunction will unduly burden county elections

officials across the state by forcing them to hold hearings in the first instance and

then track any appeals. But the Court has not conjured a new procedure from

thin air-the injunction simply requires county elections officials to apply the

already established procedures set forth in O.C.G.A. §§ 21-2-229(e), -419, -493 to

the subset of absentee voters whose ballots are rejected due to a signature

mismatch. And, as Secretary Kemp continues to insist that the number of

absentee voters at risk of rejection based on a signature mismatch is quite low,

the Court finds that the injunction's implementation of already existing


                                          8
         Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 9 of 12




procedures does not impose intractable costs or burdens on county elections

officials. Accordingly, Secretary Kemp has not met his burden in demonstrating a

strong likelihood of success on the merits of Plaintiffs' procedural due process

claim.

            b. Secretary Kemp Will Not Suffer Irreparable Injury Absent
               a Stay


         Secretary Kemp urges the Court to find that the administrative burdens of

complying with the injunction so close to the election will cause irreparable harm

by adding "brand new, untested processes ad hoc to long established election

procedures at the eleventh hour," causing uncertainty and confusion, and

undermining the integrity of the election process. See GMVP Dkt. No. [33] at 2.

The Court disagrees that the administrative burdens on the State constitute

irreparable harm. As discussed supra, the injunction simply requires the State to

apply preexisting procedures to a small fraction of Georgia's absentee voters.

Compare Fish v. Kobach, No. 16-2105-JAR, 2016 WL 3000356, at *3-5 (D. Kan.

May 25, 2016) affd, 840 F.3d 710 (10th Cir. 2016) (finding that an injunction

requiring elections officials to review and modify the records of 7,025 individuals

did not constitute irreparable harm) with Dkt. No. [33] at 10 (Secretary Kemp

noting that only nine absentee ballots have been rejected due to signature

mismatch in Gwinnett County thus far). Granting a stay at this juncture would

only cause confusion, as Secretary Kemp has already issued guidance in




                                          9
       Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 10 of 12



accordance with the injunction to county elections officials. See, e.g., GMVP Dkt.

No. [37-1] il 4.

       Moreover, in an effort to acknowledge that there is some burden on the

State inherent in implementing a preliminary injunction, the Court solicited

suggestions from the State before issuing the final injunction. See GMVP Dkt. No.

[28] at 29. Secretary Kemp did not provide specific suggestions as to how the

Court might issue the injunction to optimize ease in implementation of appeals

procedures. Indeed, while Secretary Kemp now alleges he will suffer because

"[a]ny time a State is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury," this is the

first time that Secretary Kemp has raised this issue. Id. at 18-19. But as Plaintiffs

correctly note, the injunction does not prevent Secretary Kemp from effectuating

the statutes-indeed, at oral argument his counsel conceded that various counties

already construe the statute as permitting voters to verify their signatures

through extrinsic evidence. See Dkt. No. [36] at 11. The State must continue to

comply as it always has with the statutes at issue; the injunction merely enhances

the State's obligations towards a small subset of absentee voters.

      In stark contrast to Secretary Kemp's vague assertions that the injunction

will impose significant administrative and fiscal burdens, Plaintiffs have

proffered specific evidence that this injunction will not cause irreparable injury

by injecting chaos and uncertainty into the election process. To illustrate, after

reviewing the guidance issued by Secretary Kemp following the injunction, Mr.


                                          10
       Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 11 of 12




McRae stated that "I do not believe that it will be difficult to implement the

guidance, which is pretty straightforward, even with a week left until Election

Day." GMVP Dkt. No. [37-1] i-! 6. Even Chris Harvey (Georgia's Elections

Director) has admitted, in reference to this Court's then-proposed injunction,

that "I do not believe it is impossible to make these changes." GMVP Dkt. No. [31-

3] i-! 5. In light of the foregoing, the Court finds that Secretary Kemp has not met

his burden in showing that he will suffer irreparable harm absent a stay.

          c. Balance of Harms to Plaintiffs and Public Interest

      By contrast, Plaintiffs will be irreparably injured if this Court issues a stay.

If the Court issues a stay, Plaintiffs will have to continue diverting substantial

resources towards assisting and warning voters about the possibility of a ballot

application or ballot rejection due to a signature mismatch. GMVP Dkt. No. [36]

at 18-19. Further, the Court has already determined that violation of the right to

vote establishes irreparable injury because "it cannot be undone through

monetary relief and, once the election results are tallied, the rejected electors will

have been disenfranchised without a future opportunity to cast their votes." See

Dkt. No. [28] at 26-27. Therefore, without injunctive relief, absentee voters

whose applications or ballots are rejected due to a signature mismatch risk being

completely disenfranchised from the upcoming election.

      In a similar vein, the public interest counsels in favor of denying the stay.

The Court finds that the public interest is best served by allowing qualified

absentee voters to vote and have their votes counted. This injunction ensures that


                                          11
      Case 1:18-cv-04789-LMM Document 42 Filed 10/30/18 Page 12 of 12




absentee voters who are unable to vote in person and whose applications or

ballots are rejected based on a signature mismatch will still have the opportunity

to have their votes counted in the upcoming election.

     III.   CONCLUSION


      Secretary Kemp's Emergency Motion for Stay Pending Appeal of

Preliminary Injunction, G MVP Dkt. No. [33]; Martin Dkt. No. [27], is DENIED.

      IT IS SO ORDERED this 30th day of October, 2018.




                                        eigh Martin Ma    y
                                      United States District Judge




                                        12
